                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION




 GODO KAISHA IP BRIDGE 1,

               Plaintiff,                            Case No. 2:16-cv-134
                     v.

 BROADCOM LIMITED, BROADCOM
 CORPORATION, AVAGO TECHNOLOGIES,                    DEMAND FOR JURY TRIAL
 LTD., AVAGO TECHNOLOGIES U.S., INC.,
 and LSI CORPORATION

                Defendants.



            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Godo Kaisha IP Bridge 1 (“IP Bridge” or “Plaintiff”) hereby brings this First

Amended Complaint for Patent Infringement (“First Amended Complaint”) against Broadcom

Limited (“Broadcom Ltd.”), Broadcom Corporation (“Broadcom Corp.”), Avago Technologies,

Ltd. (“Avago Tech.”), Avago Technologies U.S., Inc. (“Avago U.S.”), and LSI Corporation

(“LSI”) (collectively, “Broadcom” or “Defendants”). Plaintiff, on personal knowledge as to its

own acts, and on information and belief as to all others based on investigation, alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action brought by IP Bridge against Defendants for infringement of U.S.

Patent Nos. 6,538,324 (“the ’324 Patent”), 6,197,696 (“the ’696 Patent”), 7,126,174 (“the ’174

Patent”), 8,354,726 (“the ’726 Patent”), RE43,729 (“the RE’729 Patent”), and RE41,980 (“the

RE’980 Patent”) (collectively, “the Asserted Patents”).
                                         THE PARTIES

       2.      Plaintiff IP Bridge is a Japanese corporation with its principal place of business

located at c/o Sakura Sogo Jimusho, 1-11 Kanda Jimbocho, Chiyoda-ku, Tokyo, 101-0051,

Japan. IP Bridge owns the Asserted Patents.

       3.      Upon information and belief, Defendant Broadcom Ltd. is a corporation

organized under the laws of the country of Singapore with principal places of business at 1320

Ridder Park Dr., San Jose, California 95131 and 1 Yishun Avenue 7, Singapore 768923.

       4.      Upon information and belief, Defendant Broadcom Corp. is a California

corporation with a principal place of business at 5300 California Avenue, Irvine, California

92617. Upon information and belief, Broadcom Corp. is a wholly owned subsidiary of

Broadcom Ltd. and an affiliate of Avago Tech. Broadcom Corp. is authorized to do business in

Texas, and may be served by serving its registered agent National Registered Agents, Inc., 1999

Bryan Street, Suite 900, Dallas, Texas 75201-3140.

       5.      Upon information and belief, Defendant Avago Tech. is a corporation organized

under the laws of the country of Singapore with principal places of business at 1320 Ridder Park

Dr., San Jose, California 95131 and 1 Yishun Avenue 7, Singapore 768923. Upon information

and belief, Avago Tech. is a wholly owned subsidiary of Broadcom Ltd. and an affiliate of

Broadcom Corp.

       6.      Upon information and belief, Defendant Avago U.S. is a Delaware corporation

with a principal place of business at 1320 Ridder Park Dr., San Jose, California 95131. Upon

information and belief, Avago U.S. is a wholly owned subsidiary of Broadcom Ltd. and Avago

Tech., and an affiliate of Broadcom Corp.

       7.      Upon information and belief, Defendant LSI is a Delaware corporation with a

principal place of business at 1621 Barber Ln., Milpitas, CA 95053. Upon information and



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belief, LSI is a wholly owned subsidiary of Avago Tech., and an affiliate of Broadcom Corp.

LSI is authorized to do business in Texas, and may be served by serving its registered agent

Corporation Service Company DBA CSC – Lawyers Incorporating Service Company, 211 E. 7th

Street, Ste. 620, Austin, TX 78701.

                                 JURISDICTION AND VENUE

       8.      This is an action arising under the patent laws of the United States. Accordingly,

this Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal question) and

1338(a) (action arising under an Act of Congress relating to patents).

       9.      This Court has general and specific personal jurisdiction over Defendants at least

in part because Defendants are present in and/or transact and conduct business in and with

residents of this District and the State of Texas. IP Bridge’s causes of action arise, at least in part,

from Defendants’ contacts with and activities in the State of Texas and this District. Upon

information and belief, Defendants have committed acts of infringement within this District and

the State of Texas by, inter alia, directly and/or indirectly making, selling, offering for sale,

importing, and/or using products that infringe one or more claims of the Asserted Patents.

Defendants, directly and/or through intermediaries, use, sell, ship, distribute, offer for sale,

and/or advertise or otherwise promote their products in the State of Texas and this District.

       10.     Moreover, Defendants regularly conduct and solicit business in, engage in other

persistent courses of conduct in, and/or derive substantial revenue from goods and services

provided to residents of, the States of Texas and this judicial District. For example, Broadcom

Corp. has significant operations in Texas, including facilities in at least Dallas, Austin, and

Houston. In addition, Broadcom Corp. has availed itself of the benefits and protections of the

state’s laws by filing suit in this District. Avago Tech. has significant operations in Texas,

including operations associated with LSI, its wholly owned subsidiary, and Avago Tech.’s



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acquisition of Texas-based East Texas Integrated Circuits, Inc. in 2010 as a wholly owned

subsidiary. Avago Tech. also has availed itself of the benefits and protections of the state’s laws

by filing two patent infringement lawsuits in this District in the past year through its wholly

owned subsidiary Avago Technologies General IP (Singapore) PTE LTD. Avago Tech. has

reported that it distributes a substantial portion of its products through electronic components

distributors, including Arrow Electronic, Inc., which maintains locations throughout the State of

Texas, including in this District. Avago US employs at least 60 individuals at offices it

maintains in Texas, including in Austin and Richardson, TX. LSI has significant operations in

Texas and this District, including facilities in Plano, Austin, and Houston. LSI has also availed

itself of the benefits and protections of the state’s laws by filing a lawsuit in this District.

        11.     Furthermore, Defendants have purposefully and voluntarily placed one or more

infringing products into the stream of commerce with the expectation that they will be purchased

and/or used by residents of this District and/or incorporated into downstream products purchased

by consumers in this District, including by directly or indirectly working with subsidiaries,

distributors, and other entities located in Texas to ensure their products reach Texas and this

judicial District. More particularly, upon information and belief, at least Broadcom Ltd. and

Avago Tech. have caused one or more of their subsidiaries, including Broadcom Corp., Avago

US, and/or LSI, to place accused products in the stream of commerce knowing and intending that

such products will reach residents of this state and District.

        12.     Upon information and belief, Broadcom Ltd. has official distributors located in

Plano, Texas; Richardson, Texas; Austin, Texas; Houston, Texas; and Sugarland, Texas.

Broadcom Ltd. maintains sales offices in Addison, Texas; Houston, Texas; and Round Rock,

Texas. Upon information and belief, Avago Tech. maintains a webpage that tells customers that




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they can purchase products through Avago Technologies Authorized Distributors in their region

or country. Upon information and belief, Avago Tech. has an official distributor located in

Mansfield, Texas.

       13.     In addition, Defendants maintain highly interactive and commercial websites,

accessible to residents of Texas and this judicial District, through which Defendants promote

their products and services, including products that infringe the Asserted Patents.

       14.     Upon information and belief, Broadcom Ltd. maintains a website at

www.broadcom.com that advertises products available for sale in the United States. Broadcom

Ltd.’s website directs customers to its sales representatives and distributors, including those

located in Texas.

       15.     Upon information and belief, Avago Tech. enters Direct Purchasing Agreements

with customers. Avago Tech. maintains a website at http://www.avagotech.com/ that allows

customers with Direct Purchasing Agreements, including customers in Texas, to order samples

of products online. Avago Tech.’s website includes a link titled “How to Buy,” which directs

consumers in the United States to purchase Avago Tech.’s products from Broadcom Ltd.’s

Americas Sales Office in San Jose, California. Avago Tech.’s website also includes a

submission form that allows customers, including those in Texas, to input information in order to

obtain technical support from Avago Tech.

       16.     Avago Tech.’s website allows customers to download White Papers and product

selection guides.

       17.     Upon information and belief, Broadcom Ltd. published a “Broadcom Limited

Company Overview” in March 2016. A copy of the Broadcom Limited Company Overview is

attached hereto as Exhibit A.




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       18.     The Broadcom Limited Company Overview is available on Broadcom’s website.

In the Broadcom Limited Company Overview, Broadcom Ltd. shows that it has a design site

located in Austin Texas having more than 100 employees.

       19.     IP Bridge incorporates by reference the allegations of paragraph 22-36 of this

First Amended Complaint.

       20.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400(b) for at least

the reasons set forth above.

              DEFENDANTS’ INFRINGING PRODUCTS AND ACTIVITIES

       21.     IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

20 of this First Amended Complaint.

       22.     Defendants are global manufacturers and suppliers of semiconductor components

and products for use in consumer and enterprise products, systems, and services. Defendants

design, make, use, sell, offer for sale, import into the United States, and provide support for

semiconductor products, such as products with the part name of number BCM4334, BCM43224,

LSI SAS3108, BCM23550, BCM11140, BCM15700, BCM2048, BCM2049, BCM2070,

BCM20702, BCM20702HA, BCM20702HB, BCM20703, BCM2070B, BCM20710,

BCM20730, BCM20733, BCM20733HA, BCM2074x, BCM2075, BCM2077x, BCM20791,

BCM20792, BCM20793, BCM20795, BCM2085, BCM2091, BCM2091C0, BCM2093,

BCM21331, BCM21334, BCM2153, BCM21551, BCM21553, BCM2157, BCM21654,

BCM21664, BCM21892, BCM2763, BCM28145, BCM28155, BCM2930, BCM2940,

BCM3123, BCM3124, BCM3127, BCM3128, BCM3325, BCM3383, BCM3461, BCM3471,

BCM3472, BCM4313, BCM43142, BCM4322, BCM43241, BCM4325, BCM4329, BCM4330,

BCM43340, BCM43341, BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708,

BCM4708x, BCM4709, BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752,



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BCM47521, BCM4760, BCM53010, BCM53115, BCM53125, BCM53134, BCM54380,

BCM54382, BCM54684, BCM59001, BCM68620, BCM7023, BCM7043, BCM7229,

BCM7230, BCM7231, BCM7241, BCM7242, BCM7358, BCM7364, BCM7399, BCM7405,

BCM7422, BCM7424, BCM7425, BCM7428, BCM7429, BCM7435, BCM7445, BCM7542,

BCM7552, BCM7574, BCM7581, BCM7582, BCM7583, BCM7584, BCM7592, BCM82004,

BCM82040, BCM82328, BCM82381, BCM82790, BCM84145, BCM84146, BCM84147,

BCM84148, BCM84750 series, BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x,

BCM92070, NLA12000 series, BCM4750, PEX8696-AA50BC F, PEX8680-AA50BC F,

PEX8664-AA50RBC F, PEX8649-AA50RBC F, PEX8636-AA50RBC F, PEX8625-AA50BC F,

XLP® 800 Series Processors, XLP® 200 Series Processors, LSI B64002, LSI SF2281,

PEX9712-AA80BI G, PEX9716-AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G,

PEX9765-AA80BC G, PEX9781-AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G,

PEX8712-BA80BC G, PEX8712-CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G,

PEX8714-AA80BI G, PEX8714-BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G,

PEX8716-BA80BC G, PEX8716-CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G,

PEX8718-AA80BI G, PEX8718-BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G,

PEX8724-BA80BC G, PEX8724-CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G,

PEX8732-AA80BC G, PEX8732-BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G,

PEX8733-CA80BC G, PEX8734-AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G,

PEX8747-AA80BC G, PEX8747-AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC

G, PEX8747-BA80BFBC G, PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-

CA80BFBC G, PEX8747-CA80FBC G, PEX8748-AA80BC G, PEX8748-BA80BC G,

PEX8748-CA80BC G, PEX8749-AA80BC G, PEX8749-BA80BC G, PEX8749-CA80BC G,




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PEX8750-AA80BI G, PEX8750-BA80BI G, PEX8751-BA80BI G, PEX8764-AA80BI G,

PEX8764-BA80BI G, PEX8765-BA80BI G, PEX8780-AA80BI G, PEX8780-BA80BI G,

PEX8781-BA80BI G, PEX8796-AA80BI G, PEX8796-BA80BI G, PEX8797-BA80BI G,

Vortex Gearbox series including AVSP-1104, Vortex Signal Integrity series including AVSP-

4412 and AVSP-8801, LSI TrueStore SoCs including RC5100, SerDes core products (25G, 30G

and 32G), NAS7715-AABC F, NAS7820-AABC F, NAS7821-AABC F, NAS7825-AABC F,

LSI CMUSE-B2B2-L, LSI TrueStore RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000,

LSI 9361-4i, LSI 9361-8i, LSI 9380-4i4e, LSI 9380-8e, and other 28nm, 40nm, 65nm, and

90nm process node semiconductor products that incorporate similar circuitry, have similar

structures, features, or functionalities, and/or are made by similar manufacturing processes, as

the aforementioned products (collectively, “accused semiconductor products”). Defendants also

design, make, use, sell, offer for sale, import into the United States, and provide support for

semiconductor products that include ARM Cortex A9 CPUs, ARM Cortex A7 CPUs, ARM

Cortex A15 CPUs, and/or which otherwise support the ARMv7 and/or ARM v7-A instruction

sets, including BCM11xxx, BCM2xxx(x), BCM58xxx, AXE4500, and AXM5500 series

products (collectively, “ARM Cortex products”).

       23.     Defendants depend at least in part on foundry subcontractors located in Asia, such

as Taiwan Semiconductor Manufacturing Corporation, to manufacture a majority of their

products, including the accused semiconductor products and ARM Cortex products, according to

Defendants’ product and process specifications.

       24.     Defendants sell their products in the United States through a direct sales force,

which is located in offices throughout the United States, including Texas, and also use

distributors and manufacturers’ representatives, as well as authorized retailers.




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       25.     Upon information and belief, Broadcom Ltd. publishes news releases announcing

new products and developments in its semiconductor products. Some of these news releases

direct customers to reach out to local Broadcom sales representatives for pricing of Broadcom

Ltd.’s products.

       26.     Upon information and belief, both Broadcom Ltd. and Avago Tech. maintain

websites that advertise the accused devices, including identifying the applications for which the

accused devices can be used.

       27.     Defendants’ semiconductor products are integrated into devices made, used, sold,

offered for sale, and/or imported into the United States, by original equipment manufacturers,

distributors, and other third parties. Defendants’ accused semiconductor products and ARM

Cortex products are essential, non-trivial components of the products into which they are

integrated. For example, the BCM4334 chip is a complete wireless connectivity system with

ultra-low power consumption for mass-market smartphones.

       28.     The Broadcom Limited Company Overview discusses details of the products that

Broadcom Ltd. sells. The Broadcom Limited Company Overview includes information relating

to the percentage revenue by technology segment for the accused devices sold by Broadcom Ltd.

The information relating to percentage revenue is identified by Broadcom Limited as “Avago

Technologies Limited historical results.”

       29.     Broadcom Ltd. has a Chief Technical Officer who is responsible for driving the

company vision for engineering research and development activities. Broadcom Ltd. has a Chief

Sales Officer who is responsible for global sales and marketing across all business divisions of

Broadcom Ltd. Upon information and belief, the activities of the Chief Technical Officer and




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the Chief Sales Officer are directly or indirectly related to Broadcom Ltd.’s making, using selling,

offering to sell and/or importing into the United States Broadcom Ltd.’s semiconductor products.

       30.     Upon information and belief, on March 10, 2016, Broadcom Ltd. filed with the

United States Securities and Exchange Commission a Form 10-Q. A copy of the Form 10-Q is

attached hereto as Exhibit B.

       31.     Broadcom Ltd.’s Form 10-Q has a “Statement of Operations” section that

identifies expenses for activities by Broadcom Ltd. that are related to their semiconductor

products, including “Research and development” and “Costs of products sold.” Broadcom Ltd.’s

Form 10-Q states, “We sell our products primarily through our direct sales force, distributors and

manufacturers' representatives.” Broadcom Ltd.’s Form 10-Q also states that Broadcom Ltd.

relies on third-party foundries for wafer fabrication. Upon information and belief, these

disclosures of Broadcom Ltd.’s Form 10-Q, in whole or in part, relate to at least some of the

accused semiconductor products and the ARM Cortex products.

       32.     Upon information and belief, Avago Tech. filed with the United States Securities

and Exchange Commission a Form 10-K on or about December 17, 2015. A copy of Avago

Tech.’s Form 10-K is attached hereto as Exhibit C.

       33.     Avago Tech.’s Form 10-K includes a list of major product families and major

applications in its business segments, and this list includes applications for its semiconductor

products accused of infringement in this First Amended Complaint. Avago Tech.’s Form 10-K

has a “Statement of Operations” section that identifies expenses for activities by Avago Tech.

that are related to their semiconductor products, including “Research and development” and

“Costs of products sold.” Avago Tech.’s Form 10-K states that Avago Tech. outsources

fabrication, assembly and test facilities, but that they also have their own proprietary fabrication




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and test facilities. Upon information and belief, these disclosures of Avago Tech.’s Form 10-K,

in whole or in part, relate to at least some of the accused semiconductor products and the ARM

Cortex products.

        34.     On February 1, 2016, Broadcom Corp. (and its subsidiaries) and Avago Tech.

(and its subsidiaries) completed a merger transaction and became wholly owned subsidiaries of

newly formed entity, Broadcom Limited. Broadcom Corp., Avago Tech., Avago USA, and LSI,

are now jointly and wholly controlled by Broadcom Limited, their publicly traded parent

company. None of Broadcom Corp., Avago Tech., Avago USA, or LSI are themselves publicly

traded. A copy of the merger agreement for this transaction is attached hereto as Exhibit D.

        35.     The merger agreement identifies Avago Tech. as “a leading designer, developer

and global supplier of a broad range of semiconductor devices” and says that Avago Tech.

“offers thousands of products that are used in end products such as smartphones, hard disk drives,

computer servers, consumer appliances, data networking and telecommunications equipment,

enterprise storage and servers, and factory automation and industrial equipment.”

        36.     Defendants jointly operate to directly and/or indirectly make, use, sell, offer for

sale, import into the United States, support, and encourage the use of the products accused of

infringement herein. Upon information and belief, Broadcom Ltd. has directed and controlled

activities of its subsidiaries that relate to the making, using, selling, offering for sale, or

importation into the U.S. of one of more of the products accused of infringement herein. Upon

information and belief Avago Tech. has directed and controlled activities of its subsidiaries that

relate to the making, using, selling, offering for sale, or importation into the U.S. of one of more

of the products accused of infringement herein.




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                                  FIRST CLAIM FOR RELIEF

                      INFRINGEMENT OF U.S. PATENT NO. 6,197,696

       37.     IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

36 of this First Amended Complaint.

       38.     On March 6, 2001, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ’696 Patent, entitled “Method for Forming Interconnection Structure.”

A copy of the ’696 Patent is attached hereto as Exhibit E.

       39.     IP Bridge owns by assignment the entire right, title, and interest in and to the ’696

Patent, including the right to sue and recover damages, including damages for past infringement.

       40.     The ’696 Patent is valid and enforceable under United States Patent Laws.

       41.     Defendants have had knowledge of the ’696 Patent at least by virtue of the filing

of the original Complaint in this action.

       42.     Defendants have infringed and are infringing, directly and/or indirectly, either

literally or under the doctrine of equivalents, at least claim 13 of the ’696 Patent in violation of at

least 35 U.S.C. § 271(a), (b), and/or (g), by making, having made, using, selling, offering for sale,

and/or importing into the United States, Broadcom’s BCM4334, BCM4330, LSI B64002, LSI

SAS3108 semiconductor products, and each and every Broadcom product incorporating the same

or equivalent interconnection structure or made using the same or equivalent process, including

without limitation Broadcom’s 28nm, 40nm, and 65nm process node products, which, on

information and belief, include products with the product numbers or names BCM23550,

BCM11140, BCM15700, BCM2048, BCM2049, BCM2070, BCM20702, BCM20702HA,

BCM20702HB, BCM20703, BCM2070B, BCM20710, BCM20730, BCM20733,

BCM20733HA, BCM2074x, BCM2075, BCM2077x, BCM20791, BCM20792, BCM20793,

BCM20795, BCM2085, BCM2091, BCM2091C0, BCM2093, BCM21331, BCM21334,



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BCM2153, BCM21551, BCM21553, BCM2157, BCM21654, BCM21664, BCM21892,

BCM2763, BCM28145, BCM28155, BCM2930, BCM2940, BCM3123, BCM3124, BCM3127,

BCM3128, BCM3325, BCM3383, BCM3461, BCM3471, BCM3472, BCM4313, BCM43142,

BCM43224, BCM4322, BCM43241, BCM4325, BCM4329, BCM43340, BCM43341,

BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708, BCM4708x, BCM4709,

BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752, BCM47521, BCM4760,

BCM53010, BCM53115, BCM53125, BCM53134, BCM54380, BCM54382, BCM54684,

BCM59001, BCM68620, BCM7023, BCM7043, BCM7229, BCM7230, BCM7231, BCM7241,

BCM7242, BCM7358, BCM7364, BCM7399, BCM7405, BCM7422, BCM7424, BCM7425,

BCM7428, BCM7429, BCM7435, BCM7445, BCM7542, BCM7552, BCM7574, BCM7581,

BCM7582, BCM7583, BCM7584, BCM7592, BCM82004, BCM82040, BCM82328,

BCM82381, BCM82790, BCM84145, BCM84146, BCM84147, BCM84148, BCM84750 series,

BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x, BCM92070, NLA12000 series,

XLP® 800 Series Processors, XLP® 200 Series Processors, PEX9712-AA80BI G, PEX9716-

AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G, PEX9765-AA80BC G, PEX9781-

AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G, PEX8712-BA80BC G, PEX8712-

CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G, PEX8714-AA80BI G, PEX8714-

BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G, PEX8716-BA80BC G, PEX8716-

CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G, PEX8718-AA80BI G, PEX8718-

BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G, PEX8724-BA80BC G, PEX8724-

CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G, PEX8732-AA80BC G, PEX8732-

BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G, PEX8733-CA80BC G, PEX8734-

AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G, PEX8747-AA80BC G, PEX8747-




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AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC G, PEX8747-BA80BFBC G,

PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-CA80BFBC G, PEX8747-CA80FBC

G, PEX8748-AA80BC G, PEX8748-BA80BC G, PEX8748-CA80BC G, PEX8749-AA80BC G,

PEX8749-BA80BC G, PEX8749-CA80BC G, PEX8750-AA80BI G, PEX8750-BA80BI G,

PEX8751-BA80BI G, PEX8764-AA80BI G, PEX8764-BA80BI G, PEX8765-BA80BI G,

PEX8780-AA80BI G, PEX8780-BA80BI G, PEX8781-BA80BI G, PEX8796-AA80BI G,

PEX8796-BA80BI G, PEX8797-BA80BI G, LSI SF2281, Vortex Gearbox series including

AVSP-1104, Vortex Signal Integrity series including AVSP-4412 and AVSP-8801, LSI

TrueStore SoCs including RC5100, SerDes core products (25G, 30G and 32G), NAS7715-

AABC F, NAS7820-AABC F, NAS7821-AABC F, NAS7825-AABC F, LSI CMUSE-B2B2-L,

LSI TrueStore RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000, LSI 9361-4i, LSI

9361-8i, LSI 9380-4i4e, and LSI 9380-8e, which products are made using the patented process

of at least claim 13 of the ’696 Patent, and which products are not materially changed by

subsequent processes and do not become a trivial and nonessential component of another product

(“the ’696 Accused Products”). For example, on information and belief, the ’696 Accused

Products infringe at least claim 13 of the ’696 Patent because, at a minimum, they comprise an

interconnection structure formed using the patented process of claim 13 that comprises the steps

of, inter alia, forming insulating films, resist patterns, thin film, and mask pattern, dry-etching

insulating films, and filling in wiring grooves and contact holes.

       43.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claim 13 of the ’696 Patent by actively encouraging acts

of direct infringement (for example, using, selling, offering for sale, and importing into the

United States the ’696 Accused Products), and Defendants know (or believe that there is a high




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probability, but are taking deliberate steps to avoid knowing, including by not adequately

investigating the activities of their foundry subcontractors or the intellectual property rights of IP

Bridge), that they are inducing infringement by (a) contracting with and instructing others, such

as their foundry subcontractors, to manufacture and/or import into the United States the ’696

Accused Products made using IP Bridge’s patented processes, (b) encouraging and instructing

other third parties, including OEMs, distributors, and other third parties, to import into the

United States and/or sell or offer for sale, the ’696 Accused Products and products that

incorporate the ’696 Accused Products. For example, Defendants’ product literature for one or

more of the ’696 Accused Products, including Reference Integration Notes, instructs and

encourages Defendants’ customers and other third parties to integrate the ’696 Accused Products

into products sold, offered for sale, and/or imported into the United States.

       44.     Defendants’ infringement of the ’696 Patent is willful and deliberate, entitling IP

Bridge to enhanced damages and attorneys’ fees.

       45.     IP Bridge has been damaged by Defendants’ infringement of the ’696 Patent and

will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.

The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

       46.     IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the ’696 Patent, including without limitation

not less than a reasonable royalty.




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                                   SECOND CLAIM FOR RELIEF

                      INFRINGEMENT OF U.S. PATENT NO. 6,538,324

       47.     IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

46 of this First Amended Complaint.

       48.     On March 25, 2003, the USPTO duly and legally issued the ’324 Patent, entitled

“Multi-Layered Wiring Layer and Method of Fabricating the Same.” A copy of the ’324 Patent

is attached hereto as Exhibit F.

       49.     IP Bridge owns by assignment the entire right, title, and interest in and to the ’324

Patent, including the right to sue and recover damages, including damages for past infringement.

       50.     The ’324 Patent is valid and enforceable under United States Patent Laws.

       51.     Defendants have had knowledge of the ’324 Patent at least by virtue of the filing

of the original Complaint in this action.

       52.     Defendants have infringed and are infringing, directly and/or indirectly, either

literally or under the doctrine of equivalents, at least claims 1, 3, 5, 7 and 9 of the ’324 Patent in

violation of at least 35 U.S.C. § 271(a) and/or (b) by making, having made, using, selling,

offering for sale, and/or importing into the United States, Broadcom’s BCM4334, BCM43224,

LSI SAS3108 semiconductor products, and each and every Broadcom product incorporating the

same or equivalent accused structure or made using the same or equivalent process, including

without limitation Broadcom’s 28nm, 40nm, 65nm, and 90nm process node products, which, on

information and belief, include products with the product numbers or names BCM23550,

BCM11140, BCM15700, BCM2048, BCM2049, BCM2070, BCM20702, BCM20702HA,

BCM20702HB, BCM20703, BCM2070B, BCM20710, BCM20730, BCM20733,

BCM20733HA, BCM2074x, BCM2075, BCM2077x, BCM20791, BCM20792, BCM20793,

BCM20795, BCM2085, BCM2091, BCM2091C0, BCM2093, BCM21331, BCM21334,



                                                  16
BCM2153, BCM21551, BCM21553, BCM2157, BCM21654, BCM21664, BCM21892,

BCM2763, BCM28145, BCM28155, BCM2930, BCM2940, BCM3123, BCM3124, BCM3127,

BCM3128, BCM3325, BCM3383, BCM3461, BCM3471, BCM3472, BCM4313, BCM43142,

BCM4322, BCM43241, BCM4325, BCM4329, BCM4330, BCM43340, BCM43341,

BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708, BCM4708x, BCM4709,

BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752, BCM47521, BCM4760,

BCM53010, BCM53115, BCM53125, BCM53134, BCM54380, BCM54382, BCM54684,

BCM59001, BCM68620, BCM7023, BCM7043, BCM7229, BCM7230, BCM7231, BCM7241,

BCM7242, BCM7358, BCM7364, BCM7399, BCM7405, BCM7422, BCM7424, BCM7425,

BCM7428, BCM7429, BCM7435, BCM7445, BCM7542, BCM7552, BCM7574, BCM7581,

BCM7582, BCM7583, BCM7584, BCM7592, BCM82004, BCM82040, BCM82328,

BCM82381, BCM82790, BCM84145, BCM84146, BCM84147, BCM84148, BCM84750 series,

BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x, BCM92070, NLA12000 series,

BCM4750, PEX8696-AA50BC F, PEX8680-AA50BC F, PEX8664-AA50RBC F, PEX8649-

AA50RBC F, PEX8636-AA50RBC F, PEX8625-AA50BC F, XLP® 800 Series Processors,

XLP® 200 Series Processors, LSI B64002, LSI SF2281, PEX9712-AA80BI G, PEX9716-

AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G, PEX9765-AA80BC G, PEX9781-

AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G, PEX8712-BA80BC G, PEX8712-

CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G, PEX8714-AA80BI G, PEX8714-

BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G, PEX8716-BA80BC G, PEX8716-

CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G, PEX8718-AA80BI G, PEX8718-

BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G, PEX8724-BA80BC G, PEX8724-

CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G, PEX8732-AA80BC G, PEX8732-




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BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G, PEX8733-CA80BC G, PEX8734-

AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G, PEX8747-AA80BC G, PEX8747-

AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC G, PEX8747-BA80BFBC G,

PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-CA80BFBC G, PEX8747-CA80FBC

G, PEX8748-AA80BC G, PEX8748-BA80BC G, PEX8748-CA80BC G, PEX8749-AA80BC G,

PEX8749-BA80BC G, PEX8749-CA80BC G, PEX8750-AA80BI G, PEX8750-BA80BI G,

PEX8751-BA80BI G, PEX8764-AA80BI G, PEX8764-BA80BI G, PEX8765-BA80BI G,

PEX8780-AA80BI G, PEX8780-BA80BI G, PEX8781-BA80BI G, PEX8796-AA80BI G,

PEX8796-BA80BI G, PEX8797-BA80BI G, Vortex Gearbox series including AVSP-1104,

Vortex Signal Integrity series including AVSP-4412 and AVSP-8801, LSI TrueStore SoCs

including RC5100, SerDes core products (25G, 30G and 32G), NAS7715-AABC F, NAS7820-

AABC F, NAS7821-AABC F, NAS7825-AABC F, LSI CMUSE-B2B2-L, LSI TrueStore

RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000, LSI 9361-4i, LSI 9361-8i, LSI 9380-

4i4e, LSI 9380-8e, that meet every limitation of at least the above-identified claims (“the ’324

Accused Products”). For example, on information and belief the ’324 Accused Products infringe

at least claims 1, 3, 5, 7 and 9 of the ’324 Patent because, at a minimum, they comprise a barrier

film constituted of common metal atomic species that comprises, inter alia, a first film composed

of crystalline metal containing nitrogen and a second film composed of amorphous metal nitride

where the first film is formed on, and in direct contact with, the second film, and contains

nitrogen in a smaller content than that of the second film, all of which are arranged in the manner

recited in the above-identified claims.

       53.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claims 1, 3, 5, 7 and 9 of the ’324 Patent by actively




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encouraging acts of direct infringement, and Defendants know (or believe that there is a high

probability that, but are taking deliberate steps to avoid knowing, including by not adequately

investigating the activities of their foundry subcontractors or the intellectual property rights of IP

Bridge), that they are inducing infringement by (a) contracting with and instructing others, such

as their foundry subcontractors, to manufacture and/or import into the United States the ’324

Accused Products, (b) encouraging and instructing other third parties, including OEMs,

distributors, and other third parties, to make, use, sell, offer for sale, and/or import into the

United States the ’324 Accused Products and products that incorporate the ’324 Accused

Products. For example, Defendants’ product literature for the ’324 Accused Products, including

Reference Integration Notes, instructs and encourages Defendants’ customers and other third

parties to integrate the ’324 Accused Products into products sold, offered for sale, and/or

imported into the United States.

        54.     Defendants’ infringement of the ’324 Patent is willful and deliberate, entitling IP

Bridge to enhanced damages and attorneys’ fees.

        55.     IP Bridge has been damaged by Defendants’ infringement of the ’324 Patent and

will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.

The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

        56.     IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the ’324 Patent, including without limitation

not less than a reasonable royalty.




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                                 THIRD CLAIM FOR RELIEF

                      INFRINGEMENT OF U.S. PATENT NO. RE41,980

       57.      IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

56 of this First Amended Complaint.

       58.      On December 7, 2010, the USPTO duly and legally issued the RE’980 Patent,

entitled “Semiconductor Interconnect Formed Over an Insulation and Having Moisture Resistant

Material.” A copy of the RE’980 Patent is attached hereto as Exhibit G.

       59.      IP Bridge owns by assignment the entire right, title, and interest in and to the

RE’980 Patent, including the right to sue and recover damages, including damages for past

infringement.

       60.      The RE’980 Patent is valid and enforceable under United States Patent Laws.

       61.      Defendants have had knowledge of the RE’980 Patent at least by virtue of the

filing of the original Complaint in this action.

       62.      Defendants have infringed and are infringing, directly and/or indirectly, either

literally or under the doctrine of equivalents, at least claims 18, 19, 30-36 and 47-51 of the

RE’980 Patent in violation of at least 35 U.S.C. § 271(a) and/or (b) by making, having made,

using, selling, offering for sale, and/or importing into the United States, Broadcom’s BCM4334,

BCM43224, LSI B64002, LSI SAS3108, LSI SF2281 semiconductor products, and each and

every Broadcom product incorporating the same or equivalent accused structure or made using

the same or equivalent process, including without limitation Broadcom’s 28nm, 40nm, and 65nm

process node products, which, on information and belief, include products with the product

numbers or names BCM23550, BCM11140, BCM15700, BCM2048, BCM2049, BCM2070,

BCM20702, BCM20702HA, BCM20702HB, BCM20703, BCM2070B, BCM20710,

BCM20730, BCM20733, BCM20733HA, BCM2074x, BCM2075, BCM2077x, BCM20791,



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BCM20792, BCM20793, BCM20795, BCM2085, BCM2091, BCM2091C0, BCM2093,

BCM21331, BCM21334, BCM2153, BCM21551, BCM21553, BCM2157, BCM21654,

BCM21664, BCM21892, BCM2763, BCM28145, BCM28155, BCM2930, BCM2940,

BCM3123, BCM3124, BCM3127, BCM3128, BCM3325, BCM3383, BCM3461, BCM3471,

BCM3472, BCM4313, BCM43142, BCM4322, BCM43241, BCM4325, BCM4329, BCM4330,

BCM43340, BCM43341, BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708,

BCM4708x, BCM4709, BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752,

BCM47521, BCM4760, BCM53010, BCM53115, BCM53125, BCM53134, BCM54380,

BCM54382, BCM54684, BCM59001, BCM68620, BCM7023, BCM7043, BCM7229,

BCM7230, BCM7231, BCM7241, BCM7242, BCM7358, BCM7364, BCM7399, BCM7405,

BCM7422, BCM7424, BCM7425, BCM7428, BCM7429, BCM7435, BCM7445, BCM7542,

BCM7552, BCM7574, BCM7581, BCM7582, BCM7583, BCM7584, BCM7592, BCM82004,

BCM82040, BCM82328, BCM82381, BCM82790, BCM84145, BCM84146, BCM84147,

BCM84148, BCM84750 series, BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x,

BCM92070, NLA12000 series, XLP® 800 Series Processors, XLP® 200 Series Processors,

PEX9712-AA80BI G, PEX9716-AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G,

PEX9765-AA80BC G, PEX9781-AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G,

PEX8712-BA80BC G, PEX8712-CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G,

PEX8714-AA80BI G, PEX8714-BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G,

PEX8716-BA80BC G, PEX8716-CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G,

PEX8718-AA80BI G, PEX8718-BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G,

PEX8724-BA80BC G, PEX8724-CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G,

PEX8732-AA80BC G, PEX8732-BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G,




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PEX8733-CA80BC G, PEX8734-AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G,

PEX8747-AA80BC G, PEX8747-AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC

G, PEX8747-BA80BFBC G, PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-

CA80BFBC G, PEX8747-CA80FBC G, PEX8748-AA80BC G, PEX8748-BA80BC G,

PEX8748-CA80BC G, PEX8749-AA80BC G, PEX8749-BA80BC G, PEX8749-CA80BC G,

PEX8750-AA80BI G, PEX8750-BA80BI G, PEX8751-BA80BI G, PEX8764-AA80BI G,

PEX8764-BA80BI G, PEX8765-BA80BI G, PEX8780-AA80BI G, PEX8780-BA80BI G,

PEX8781-BA80BI G, PEX8796-AA80BI G, PEX8796-BA80BI G, PEX8797-BA80BI G,

Vortex Gearbox series including AVSP-1104, Vortex Signal Integrity series including AVSP-

4412 and AVSP-8801, LSI TrueStore SoCs including RC5100, SerDes core products (25G, 30G

and 32G), NAS7715-AABC F, NAS7820-AABC F, NAS7821-AABC F, NAS7825-AABC F,

LSI CMUSE-B2B2-L, LSI TrueStore RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000,

LSI 9361-4i, LSI 9361-8i, LSI 9380-4i4e, LSI 9380-8e, that meet every limitation of at least the

above-identified claims (“the RE’980 Accused Products”). For example, on information and

belief, the RE’980 Accused Products infringe at least claims 18, 19, 30-36 and 47-51 of the

RE’980 Patent because, at a minimum, they comprise a semiconductor substrate, an interlayer

insulating film, a metal wire layer, a surface protecting film including a first dielectric film and a

second dielectric film, and a bonding pad, all of which are arranged in the manner recited in the

above-identified claims.

       63.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claims 18, 19, 30-36 and 47-51 of the RE’980 Patent by

actively encouraging acts of direct infringement, and Defendants know (or believe that there is a

high probability that, but are taking deliberate steps to avoid knowing, including by not




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adequately investigating the activities of their foundry subcontractors or the intellectual property

rights of IP Bridge), that they are inducing infringement by (a) contracting with and instructing

others, such as their foundry subcontractors, to manufacture and/or import into the United States

the RE’980 Accused Products, (b) encouraging and instructing other third parties, including

OEMs, distributors, and other third parties, to make, use, sell, offer for sale, and/or import into

the United States the RE’980 Accused Products and products that incorporate the RE’980

Accused Products. For example, Defendants’ product literature for the RE’980 Accused

Products, including Reference Integration Notes, instructs and encourages Defendants’

customers and other third parties to integrate the RE’980 Accused Products into products sold,

offered for sale, and/or imported into the United States.

       64.     Defendants’ infringement of the RE’980 Patent is willful and deliberate, entitling

IP Bridge to enhanced damages and attorneys’ fees.

       65.     IP Bridge has been damaged by Defendants’ infringement of the RE’980 Patent

and will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.

The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

       66.     IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the RE’980 Patent, including without

limitation not less than a reasonable royalty.

                                FOURTH CLAIM FOR RELIEF

                     INFRINGEMENT OF U.S. PATENT NO. 7,126,174

       67.     IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

66 of this First Amended Complaint.



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       68.     On October 24, 2006, the USPTO duly and legally issued the ’174 Patent, entitled

“Semiconductor Device and Method of Manufacturing the Same.” A copy of the ’174 Patent is

attached hereto as Exhibit H.

       69.     IP Bridge owns by assignment the entire right, title, and interest in and to the ’174

Patent, including the right to sue and recover damages, including damages for past infringement.

       70.     The ’174 Patent is valid and enforceable under United States Patent Laws.

       71.     Defendants have had knowledge of the ’174 Patent at least by virtue of the filing

of the original Complaint in this action.

       72.     Defendants have infringed and are infringing, directly and/or indirectly, either

literally or under the doctrine of equivalents, at least claims 1, 4, 5, 8-12 and 14 of the ’174

Patent in violation of at least 35 U.S.C. § 271(a) and/or (b) by making, having made, using,

selling, offering for sale, and/or importing into the United States, Broadcom’s BCM4334,

BCM4330, BCM43224, LSI B64002, LSI SAS3108, LSI SF2281 semiconductor products, and

each and every Broadcom product incorporating the same or equivalent accused structure or

made using the same or equivalent process, including without limitation Broadcom’s 28nm,

40nm, 65nm, and 90nm process node products, which, on information and belief, include

products with the product numbers or names BCM23550, BCM11140, BCM15700, BCM2048,

BCM2049, BCM2070, BCM20702, BCM20702HA, BCM20702HB, BCM20703, BCM2070B,

BCM20710, BCM20730, BCM20733, BCM20733HA, BCM2074x, BCM2075, BCM2077x,

BCM20791, BCM20792, BCM20793, BCM20795, BCM2085, BCM2091, BCM2091C0,

BCM2093, BCM21331, BCM21334, BCM2153, BCM21551, BCM21553, BCM2157,

BCM21654, BCM21664, BCM21892, BCM2763, BCM28145, BCM28155, BCM2930,

BCM2940, BCM3123, BCM3124, BCM3127, BCM3128, BCM3325, BCM3383, BCM3461,




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BCM3471, BCM3472, BCM4313, BCM43142, BCM4322, BCM43241, BCM4325, BCM4329,

BCM43340, BCM43341, BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708,

BCM4708x, BCM4709, BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752,

BCM47521, BCM4760, BCM53010, BCM53115, BCM53125, BCM53134, BCM54380,

BCM54382, BCM54684, BCM59001, BCM68620, BCM7023, BCM7043, BCM7229,

BCM7230, BCM7231, BCM7241, BCM7242, BCM7358, BCM7364, BCM7399, BCM7405,

BCM7422, BCM7424, BCM7425, BCM7428, BCM7429, BCM7435, BCM7445, BCM7542,

BCM7552, BCM7574, BCM7581, BCM7582, BCM7583, BCM7584, BCM7592, BCM82004,

BCM82040, BCM82328, BCM82381, BCM82790, BCM84145, BCM84146, BCM84147,

BCM84148, BCM84750 series, BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x,

BCM92070, NLA12000 series, BCM4750, PEX8696-AA50BC F, PEX8680-AA50BC F,

PEX8664-AA50RBC F, PEX8649-AA50RBC F, PEX8636-AA50RBC F, PEX8625-AA50BC F,

XLP® 800 Series Processors, XLP® 200 Series Processors, PEX9712-AA80BI G, PEX9716-

AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G, PEX9765-AA80BC G, PEX9781-

AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G, PEX8712-BA80BC G, PEX8712-

CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G, PEX8714-AA80BI G, PEX8714-

BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G, PEX8716-BA80BC G, PEX8716-

CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G, PEX8718-AA80BI G, PEX8718-

BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G, PEX8724-BA80BC G, PEX8724-

CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G, PEX8732-AA80BC G, PEX8732-

BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G, PEX8733-CA80BC G, PEX8734-

AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G, PEX8747-AA80BC G, PEX8747-

AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC G, PEX8747-BA80BFBC G,




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PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-CA80BFBC G, PEX8747-CA80FBC

G, PEX8748-AA80BC G, PEX8748-BA80BC G, PEX8748-CA80BC G, PEX8749-AA80BC G,

PEX8749-BA80BC G, PEX8749-CA80BC G, PEX8750-AA80BI G, PEX8750-BA80BI G,

PEX8751-BA80BI G, PEX8764-AA80BI G, PEX8764-BA80BI G, PEX8765-BA80BI G,

PEX8780-AA80BI G, PEX8780-BA80BI G, PEX8781-BA80BI G, PEX8796-AA80BI G,

PEX8796-BA80BI G, PEX8797-BA80BI G, Vortex Gearbox series including AVSP-1104,

Vortex Signal Integrity series including AVSP-4412 and AVSP-8801, LSI TrueStore SoCs

including RC5100, SerDes core products (25G, 30G and 32G), NAS7715-AABC F, NAS7820-

AABC F, NAS7821-AABC F, NAS7825-AABC F, LSI CMUSE-B2B2-L, LSI TrueStore

RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000, LSI 9361-4i, LSI 9361-8i, LSI 9380-

4i4e, LSI 9380-8e, that meet every limitation of at least the above-identified claims (“the ’174

Accused Products”). For example, on information and belief, the ’174 Accused Products

infringe at least claims 1, 4, 5, 8-12 and 14 of the ’174 Patent because, at a minimum, they

comprise a trench isolation, a gate insulating film, a gate electrode, first and second L-shaped

sidewalls, silicide layers, and an interconnection, all of which are arranged in the manner recited

in the above-identified claims.

       73.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claims 1, 4, 5, 8-12 and 14 of the ’174 Patent by actively

encouraging acts of direct infringement, and Defendants know (or believe that there is a high

probability that, but are taking deliberate steps to avoid knowing, including by not adequately

investigating the activities of their foundry subcontractors or the intellectual property rights of IP

Bridge), that they are inducing infringement by (a) contracting with and instructing others, such

as their foundry subcontractors, to manufacture and/or import into the United States the ’174




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Accused Products, (b) encouraging and instructing other third parties, including OEMs,

distributors, and other third parties, to make, use, sell, offer for sale, and/or import into the

United States the ’174 Accused Products and products that incorporate the ’174 Accused

Products. For example, Defendants’ product literature for the ’174 Accused Products, including

Reference Integration Notes, instructs and encourages Defendants’ customers and other third

parties to integrate the ’174 Accused Products into products sold, offered for sale, and/or

imported into the United States.

        74.     Defendants’ infringement of the ’174 Patent is willful and deliberate, entitling IP

Bridge to enhanced damages and attorneys’ fees.

        75.     IP Bridge has been damaged by Defendants’ infringement of the ’174 Patent and

will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.

The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

        76.     IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the ’174 Patent, including without limitation

not less than a reasonable royalty.

                                   FIFTH CLAIM FOR RELIEF

                      INFRINGEMENT OF U.S. PATENT NO. 8,354,726

        77.     IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

76 of this First Amended Complaint.

        78.     On January 15, 2013, the USPTO duly and legally issued the ’726 Patent, entitled

“Semiconductor Device and Method for Fabricating the Same.” A copy of the ’726 Patent is

attached hereto as Exhibit I.



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       79.     IP Bridge owns by assignment the entire right, title, and interest in and to the ’726

Patent, including the right to sue and recover damages, including damages for past infringement.

       80.     The ’726 Patent is valid and enforceable under United States Patent Laws.

       81.     Defendants have had knowledge of the ’726 Patent at least by virtue of the filing

of the original Complaint in this action.

       82.     Defendants have infringed and are infringing, directly and/or indirectly, either

literally or under the doctrine of equivalents, at least claims 1, 4, 8-10, 17-24, 26-28, 43, 46, 49,

50, and 52-62 of the ’726 Patent in violation of at least 35 U.S.C. § 271(a) and/or (b) by making,

having made, using, selling, offering for sale, and/or importing into the United States,

Broadcom’s BCM4334, BCM43224, LSI B64002, LSI SAS3108 semiconductor products, and

each and every Broadcom product incorporating the same or equivalent accused structure, or

made using the same or equivalent process, including without limitation Broadcom’s 28nm,

40nm, and 65nm process node products, which, on information and belief, include products with

the product numbers or names BCM23550, BCM11140, BCM15700, BCM2048, BCM2049,

BCM2070, BCM20702, BCM20702HA, BCM20702HB, BCM20703, BCM2070B, BCM20710,

BCM20730, BCM20733, BCM20733HA, BCM2074x, BCM2075, BCM2077x, BCM20791,

BCM20792, BCM20793, BCM20795, BCM2085, BCM2091, BCM2091C0, BCM2093,

BCM21331, BCM21334, BCM2153, BCM21551, BCM21553, BCM2157, BCM21654,

BCM21664, BCM2763, BCM28145, BCM28155, BCM2930, BCM2940, BCM3123, BCM3124,

BCM3127, BCM3128, BCM3325, BCM3383, BCM3461, BCM3471, BCM3472, BCM4313,

BCM43142, BCM4322, BCM43241, BCM4325, BCM4329, BCM4330, BCM43340,

BCM43341, BCM43342, BCM4335, BCM4551, BCM4704, BCM4707, BCM4708, BCM4708x,

BCM4709, BCM4716, BCM4717, BCM4718, BCM4751, BCM47511, BCM4752, BCM47521,




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BCM4760, BCM53010, BCM53115, BCM53125, BCM53134, BCM54380, BCM54382,

BCM54684, BCM59001, BCM68620, BCM7023, BCM7043, BCM7229, BCM7230, BCM7231,

BCM7241, BCM7242, BCM7358, BCM7364, BCM7399, BCM7405, BCM7422, BCM7424,

BCM7425, BCM7428, BCM7429, BCM7435, BCM7445, BCM7542, BCM7552, BCM7574,

BCM7581, BCM7582, BCM7583, BCM7584, BCM7592, BCM82004, BCM82040, BCM82328,

BCM82381, BCM82790, BCM84145, BCM84146, BCM84147, BCM84148, BCM84750 series,

BCM84756, BCM84833, BCM84834, BCM84848, BCM8953x, BCM92070, NLA12000 series,

XLP® 800 Series Processors, XLP® 200 Series Processors, LSI SF2281, PEX9712-AA80BI G,

PEX9716-AA80BC G, PEX9733-AA80BC G, PEX9749-AA80BC G, PEX9765-AA80BC G,

PEX9781-AA80BI G, PEX9797-AA80BC G, PEX8712-AA80BC G, PEX8712-BA80BC G,

PEX8712-CA80BC G, PEX8713-BA80BC G, PEX8713-CA80BC G, PEX8714-AA80BI G,

PEX8714-BA80BI G, PEX8715-BA80BI G, PEX8716-AA80BC G, PEX8716-BA80BC G,

PEX8716-CA80BC G, PEX8717-BA80BC G, PEX8717-CA80BC G, PEX8718-AA80BI G,

PEX8718-BA80BI G, PEX8719-BA80BI G, PEX8724-AA80BC G, PEX8724-BA80BC G,

PEX8724-CA80BC G, PEX8725-BA80BC G, PEX8725-CA80BC G, PEX8732-AA80BC G,

PEX8732-BA80BC G, PEX8732-CA80BC G, PEX8733-BA80BC G, PEX8733-CA80BC G,

PEX8734-AA80BI G, PEX8734-BA80BI G, PEX8735-BA80BI G, PEX8747-AA80BC G,

PEX8747-AA80BFBC G, PEX8747-AA80FBC G, PEX8747-BA80BC G, PEX8747-

BA80BFBC G, PEX8747-BA80FBC G, PEX8747-CA80BC G, PEX8747-CA80BFBC G,

PEX8747-CA80FBC G, PEX8748-AA80BC G, PEX8748-BA80BC G, PEX8748-CA80BC G,

PEX8749-AA80BC G, PEX8749-BA80BC G, PEX8749-CA80BC G, PEX8750-AA80BI G,

PEX8750-BA80BI G, PEX8751-BA80BI G, PEX8764-AA80BI G, PEX8764-BA80BI G,

PEX8765-BA80BI G, PEX8780-AA80BI G, PEX8780-BA80BI G, PEX8781-BA80BI G,




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PEX8796-AA80BI G, PEX8796-BA80BI G, PEX8797-BA80BI G, Vortex Gearbox series

including AVSP-1104, Vortex Signal Integrity series including AVSP-4412 and AVSP-8801,

LSI TrueStore SoCs including RC5100, SerDes core products (25G, 30G and 32G), NAS7715-

AABC F, NAS7820-AABC F, NAS7821-AABC F, NAS7825-AABC F, LSI CMUSE-B2B2-L,

LSI TrueStore RC2500, LSI TrueStore RC8000, LSI TrueStore PHY8000, LSI 9361-4i, LSI

9361-8i, LSI 9380-4i4e, LSI 9380-8e, that meet every limitation of at least the above-identified

claims (“the ’726 Accused Products”). For example, on information and belief, the ’726

Accused Products infringe at least claims 1, 4, 8-10, 17-24, 26-28, 43, 46, 49, 50 and 52-62 of

the ’726 Patent because, at a minimum, they comprise a first active region, a first gate electrode,

a first and second side-wall, an auxiliary pattern or a second gate electrode, a stress-containing

insulating film, and a first side-wall insulating film, all of which are arranged in the manner

recited in the above-identified claims.

       83.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claims 1, 4, 8-10, 17-24, 26-28, 43, 46, 49, 50 and 52-62

of the ’726 Patent by actively encouraging acts of direct infringement, and Defendants know (or

believe that there is a high probability that, but are taking deliberate steps to avoid knowing,

including by not adequately investigating the activities of their foundry subcontractors or the

intellectual property rights of IP Bridge), that they are inducing infringement by (a) contracting

with and instructing others, such as its foundry subcontractors, to manufacture and/or import into

the United States the ’726 Accused Products, (b) encouraging and instructing other third parties,

including OEMs, distributors, and other third parties, to make, use, sell, offer for sale, and/or

import into the United States the ’726 Accused Products and products that incorporate the ’726

Accused Products. For example, Defendants’ product literature for the ’726 Accused Products,




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including Reference Integration Notes, instructs and encourages Defendants’ customers and

other third parties to integrate the ’726 Accused Products into products sold, offered for sale,

and/or imported into the United States.

       84.      Defendants’ infringement of the ’726 Patent is willful and deliberate, entitling IP

Bridge to enhanced damages and attorneys’ fees.

       85.      IP Bridge has been damaged by Defendants’ infringement of the ’726 Patent and

will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.

The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

       86.      IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the ’726 Patent, including without limitation

not less than a reasonable royalty.

                                  SIXTH CLAIM FOR RELIEF

                       INFRINGEMENT OF U.S. PATENT NO. RE43,729

       87.      IP Bridge realleges and incorporates by reference the allegations of paragraphs 1-

86 of this First Amended Complaint.

       88.      On October 9, 2012, the USPTO duly and legally issued the RE’729 Patent,

entitled “Processor Which Can Favorably Execute a Rounding Process Composed of Positive

Conversion and Saturated Calculation Processing.” A copy of the RE’729 Patent is attached

hereto as Exhibit J.

       89.      IP Bridge owns by assignment the entire right, title, and interest in and to the

RE’729 Patent, including the right to sue and recover damages, including damages for past

infringement.



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       90.     The RE’729 Patent is valid and enforceable under United States Patent Laws.

       91.     Defendants have had knowledge of the RE’729 Patent at least by virtue of the

filing of the original Complaint in this action.

       92.     Defendants, individually and/or jointly, have infringed and are infringing, directly

and/or indirectly, either literally or under the doctrine of equivalents, at least claim 21 of the

RE’729 Patent in violation of at least 35 U.S.C. § 271(a) and/or (b) by making, having made,

using, selling, offering for sale, and/or importing into the United States, BCM11xxx series

(including without limitation BCM11311, BCM11140); BCM2xxx and BCM2xxxx series

(including without limitation BCM21553, BCM2836, BCM21654, BCM21654G, BCM21663,

BCM21664T, BCM23550, BCM28145, BCM28155, BCM28150, BCM2835, BCM2836);

BCM4xxx and BCM4xxxx series (including without limitation BCM4707, BCM4708,

BCM4709, BCM47094, BCM47452); BCM53xxx (including without limitation BCM5301x,

BCM5333x, BCM5334x, BCM5340x and BCM5341x series); BCM56xxx series (including

without limitation BCM56060, BCM56160); BCM58xxx series (including without limitation

BCM58300, BCM58305, BCM5830x series, BCM58525, BCM5862x series); BCM63xxx series

(including without limitation BCM63138); BCM8xxxx series (including without limitation

BCM88312), AXE4500 series, AXM5500 series, and Broadcom wearable system-on-a-chip

(SoC), and each and every semiconductor product that comprises a Cortex A7, A9, A12, A15, or

A17 processor core and/or supports the ARMv7 or ARM v7-A instruction sets with Advanced

SIMD instruction set extension, that meet every limitation of at least the above-identified claim

(“the RE’729 Accused Products”). For example, the RE’729 Accused Products infringe at least

claim 21 of the RE’729 Patent because, at a minimum, they comprise a detecting unit for

detecting whether an instruction to be decoded is a predetermined instruction and a rounding unit




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for rounding, when the detecting unit is detecting that the instruction is the predetermined

instruction, a signed m-bit integer stored at an operand designated by the

predetermined instruction to a value expressed as an unsigned s-bit integer, all of which are

arranged in the manner recited in the above-identified claim.

       93.     Defendants’ actions alleged herein have actively induced and/or are continuing to

actively induce infringement of at least claim 21 of the RE’729 Patent by actively encouraging

acts of direct infringement, and Defendants know (or believe that there is a high probability that,

but are taking deliberate steps to avoid knowing, including by not adequately investigating the

activities of their foundry subcontractors or the intellectual property rights of IP Bridge), that

they are inducing infringement by (a) contracting with and instructing others, such as their

foundry subcontractors, to manufacture and/or import into the United States the RE’729 Accused

Products, (b) encouraging and instructing other third parties, including OEMs, distributors, and

other third parties, to make, use, sell, offer for sale, and/or import into the United States the

RE’729 Accused Products and products that incorporate the RE’729 Accused Products. For

example, Defendants’ product literature for the RE’729 Accused Products, including Reference

Integration Notes, instructs and encourages Defendants’ customers and other third parties to

integrate the RE’729 Accused Products into products sold, offered for sale, and/or imported into

the United States.

       94.     Defendants’ infringement of the RE’729 Patent is willful and deliberate, entitling

IP Bridge to enhanced damages and attorneys’ fees.

       95.     IP Bridge has been damaged by Defendants’ infringement of the RE’729 Patent

and will continue to be damaged unless Defendants are enjoined by this Court. IP Bridge has

suffered and continues to suffer irreparable injury for which there is on adequate remedy at law.




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The balance of the hardships favors IP Bridge, and public interest is not disserved by an

injunction.

       96.     IP Bridge is entitled to recover from Defendants all damages IP Bridge has

sustained as a result of Defendants’ infringement of the RE’729 Patent, including without

limitation not less than a reasonable royalty.

                                     PRAYER FOR RELIEF

       WHEREFORE, IP Bridge prays for a judgment in its favor and against Defendants and

respectfully requests the following relief:

       1.      A judgment declaring that Defendants have infringed one or more claims of each

of the Asserted Patents in this litigation pursuant to 35 U.S.C. §§ 271(a), 271(b), and/or 271(g);

       2.      A judgment pursuant to 35 U.S.C. §283 preliminary and permanently enjoining

Defendants, their officers, directors, attorneys, agents, servants, employees, parties in privity

with, and all persons in active concert or participation with any of the foregoing, from continued

acts of direct or indirect infringement of any claim of the Asserted Patents;

       3.      A judgment requiring Defendants to make an accounting of damages resulting

from Defendants’ infringement of the Asserted Patents;

       4.      A judgment awarding IP Bridge its damages resulting from Defendants’

infringement of the Asserted Patents, and increasing such damages pursuant to 35 U.S.C. § 284

because of the willful and deliberate nature of Defendants’ conduct;

       5.      A judgment requiring Defendants to pay IP Bridge costs, expenses, and pre-

judgment and post-judgment interest for Defendants’ infringement of each of the Asserted

Patents;

       6.      A judgment finding that this is an exceptional case and awarding IP Bridge’s

attorneys’ fees pursuant to 35 U.S.C. § 285;



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      7.     Such further necessary and proper relief under 28 U.S.C. § 2202; and

      8.     Such other relief as the Court deems just and proper.




Dated: May 27, 2016                        /s/ Melissa R. Smith
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                                            alexander.middleton@ropesgray.com

                                            Attorneys for Godo Kaisha IP Bridge 1




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

have consented to electronic service, on May 27, 2016.

                                             /s/ Melissa R. Smith
                                            Melissa R. Smith




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